






















&nbsp;

COURT OF APPEALS

SECOND
DISTRICT OF TEXAS

FORT WORTH

&nbsp;

NO. 02-10-00145-CV 

&nbsp;

&nbsp;


 
  
  James Suggs
  
  
  &nbsp;
  
  
  APPELLANT
  &nbsp;
  
 
 
  
  V.
  &nbsp;
  
 
 
  
  Robert Speers
  
  
  &nbsp;
  
  
  APPELLEE 
  
 


&nbsp;

------------

&nbsp;

FROM County Court at Law No. 1 OF Tarrant
COUNTY

------------

MEMORANDUM OPINION[1]
AND JUDGMENT

&nbsp;

------------

&nbsp;

On
May 12, 2010 and June 8, 2010, we notified appellant, in accordance with rule
of appellate procedure 42.3(c), that we would dismiss this appeal unless the
$175 filing fee was paid.&nbsp; See
Tex. R. App. P. 42.3(c).&nbsp; Appellant has not paid the $175 filing fee.&nbsp; See Tex. R. App. P. 5, 12.1(b).

Because
appellant has failed to comply with a requirement of the rules of appellate
procedure and the Texas Supreme Court=s
order of August 28, 2007,[2]
we dismiss the appeal.&nbsp; See Tex.
R. App. P. 42.3(c), 43.2(f).

Appellant
shall pay all costs of this appeal, for which let execution issue.&nbsp; See Tex. R. App. P. 43.4.

&nbsp;

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; PER
CURIAM

&nbsp;

PANEL:&nbsp;
GARDNER, WALKER, and MCCOY, JJ.

&nbsp;

DELIVERED:&nbsp;
July 1, 2010 

&nbsp;











[1]See Tex. R. App. P.
47.4.





[2]See Supreme Court of
Tex., Order Regarding Fees Charged in Civil Cases in the Supreme Court and
the Courts of Appeals and Before the Judicial Panel on Multidistrict Litigation,
Misc. Docket No. 07-9138 (Aug. 28, 2007) (listing fees in courts of appeals).







